     Case 4:15-cr-00187-LGW-GRS Document 85 Filed 03/14/16 Page 1 of 1




                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION


UNITED STATES OF AMERICA            )



                                    )



V.                                           Case No. CR415487
                                    )



ANTWAN LESHAWN COLEY and            )



BRAYLON WILLIAMS                    )



                                    ORDER

        After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report of

the Magistrate Judge is adopted as            nion of,t Court.

        SO ORDERED this                 of                .2016.



                                    LISA GØDBEY WOOD, CHIEF JUDGE
                                    UNITED STATES DISTRICT COURT
                                    SOttRERN DISTRICT OF GEORGIA
